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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN



JENNIFER LOVE,
                                               Honorable
      Plaintiff,
                                               Case No:
v.
                                               COMPLAINT
GENESEE HEALTH SYSTEM,
DANIS RUSSELL, Director of GENESEE
HEALTH SYSTEM, in his official capacity,
REGION 10 PIHP, MICHIGAN DEPARTMENT OF
HEALTH AND HUMAN SERVICES,
and NICK LYON, Director of MICHIGAN
DEPARTMENT OF HEALTH AND HUMAN
SERVICES, in his official capacity,

      Defendants.


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MICHIGAN PROTECTION & ADVOCACY
SERVICE, INC.
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                               COMPLAINT

                            I. INTRODUCTION

1.   This is an action brought by Plaintiff, Jennifer Love, under the

     Americans with Disabilities Act (ADA) (42 U.S.C. § 120101), Section

     504 of the Rehabilitation Act (29 U.S.C. § 794), the Medicaid Act, the

     Nursing Home Reform Act (42 U.S.C. § 1396r), and 42 U.S.C. §

      1983.

2.   Plaintiff is a 46-year-old Medicaid beneficiary with mental illness.

3.   Despite Plaintiff's disabilities, she is capable of living in a community

     setting.

4.   Federal law requires Defendants to provide long term care services in

     the most integrated setting appropriate to Plaintiff's needs. It prohibits

     unnecessary segregation and isolation. These rights have been

     affirmed by the United States Supreme Court in Olmstead v. L. C.,

     527 U.S. 581 (1999).

5.   Defendants have failed to accommodate Plaintiff's disabilities to

     ensure she receives treatment and services in the most integrated

     setting appropriate to her individual needs. This failure has resulted in

      Plaintiff living in the most restricted setting possible - a nursing

     facility.



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6.   To prevent unnecessary institutionalization in nursing facilities and to

      offer people with disabilities meaningful opportunities to choose home

      and community based services, the Medicaid Act and the Nursing

      Home    Reform    Act    (NHRA)     require   the   state   to   perform

     comprehensive     assessments and reviews to identify the care and

     services needed to enable individuals to remain in or return to the

     community. 42 U.S.C. § 1396r. Such services must be provided with

      reasonable promptness. 42 U.S.C. § 1396a(a)(8).

7.   The NHRA addresses the problem of unnecessary placement or

     warehousing of people with psychiatric and developmental disabilities

     in nursing facilities. Special preadmission screening and resident

     reviews (PASARR) are required for all individuals believed to have

     psychiatric or developmental disabilities to determine whether nursing

     facility level of care is required or whether services should be

     provided in the community. 42 U.S.C. §§ 1396r(b)(3)(F)(i), (e)(7)(A)-

     (8); 42 C.F.R. §§ 483.112,483.128,483.132, and 483.134.

8.   Defendants have failed to implement recommendations under

     PASARR evaluations by not providing the services Plaintiff requires.

9.   As a result, Plaintiff has been compelled to reside in a nursing facility.




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10.    In effectively segregating   Plaintiff and failing to provide her with

      access   to community     services   and supports,   Defendants     have

      disregarded the integration and nondiscrimination mandates of Title II

      of the ADA, the Rehabilitation Act of 1973, the NHRA, the Medicaid

      provisions of the Social Security Act, and 42 U.S.C. § 1983.


                        II. JURISDICTION AND VENUE


11.   This action is brought pursuant to Title II of the Americans with

      Disabilities Act (ADA), 42 U.S.C. § 12132 et seq.; Section 504 of the

      Rehabilitation Act of 1973, 29 U.S.C. § 794; and the Social Security

      Act, 42 U.S.C. §§ 1396r(b)(3)(F); 1396a(a)(8).

12.   Jurisdiction is conferred by 28 U.S.C. §§ 1331, 1343.

13.   Declaratory and injunctive relief are authorized pursuant to 28 U.S.C.

      §§ 2201, 2202; 29 U.S.C. § 794a; 42 U.S.C. § 1983; and 42 U.S.C. §

      12133.

14.   Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), as all

      of the acts and omissions giving rise to the claims occurred in

      Genesee County.




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                                 III. PARTIES

      A. The Plaintiff

15.   Plaintiff is a 46-year old Medicaid beneficiary. She has been

      diagnosed with serious mental illnesses that significantly limit her life

      activities, including self-care and communication.

16.   Plaintiff currently resides at Fenton Health Care, a nursing facility

      located in Genesee County.

17.   Plaintiff is capable of living in a community setting, outside of the

      nursing facility, with the Medicaid specialty support services she is

      entitled to receive under the Michigan Medicaid state plan.

       B. The Defendants


18.    Defendant, MDHHS, is the agency designated as the single state

       agency responsible for administering and implementing Michigan's

       Medicaid program under 42 U.S.C. § 1396a(a)(5).

19.    Nick Lyon is the Director of MDHHS.

20.   As Director, Nick Lyon is responsible for ensuring that Michigan's

       Medicaid program is administered and implemented consistent with

      the requirements of federal and state law.




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21.    Defendant,   Nick   Lyon,   is   responsible   for   administering   and

       overseeing   Michigan's   entire Mental Health system.         M.C.L. §§

       330.1104, 330.1116, which states:

            The health of the people of the state is a matter of
            primary public concern, and as required by section 8 of
            article VIII of the state constitution of 1963, which
            declares that services for the care, treatment, education,
            or rehabilitation of those who are seriously mentally
            disabled shall always be fostered and supported,
            [MDHHS] shall continually and diligently endeavor to
            ensure that adequate and appropriate mental health
            services are available to all citizens throughout the state.

22.    Defendant, Nick Lyon, is being sued in his official capacity.

23.    Defendant, Genesee Health System (GHS), is a community mental

       health service program established by the Michigan Mental Health

       Code at M.C.L. § 330.1206 (stating that the "purpose of a

       community mental health services program shall be to provide a

      comprehensive array of mental health services appropriate to

      conditions of individuals who are located within its geographic

      service area, regardless of an individual's ability to pay").

24.   GHS is required to provide mental health services to adults with

      serious mental illness living in Genesee County. M.C.L. § 330.1208.




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25.    Defendant, Danis Russell, is the Director of GHS. He has authority

       over and is ultimately responsible for all of GHS' services, programs,

       and operations.

26.    Defendant, Danis Russell, is being sued in his official capacity.

27.    Defendant, Region 10, the prepaid inpatient health plan (PIHP) for

       Genesee     County,   is   considered   a   Medicaid    managed     care

       organization under M.C.L. § 400.109f.

28.    Under federal law, a Medicaid managed care organization provides

       or arranges for services for Medicaid enrollees under 42 U.S.C. §

       1396u-2(a)(1)(8).



                             IV. Statutory Provisions

       A. Brief Overview of the Medicaid Program in Michigan for
          Individuals with DevelopmentalDisabilities/Mentallllness.

29.   Plaintiff incorporates by reference paragraphs 1 through 28 as if fully

      set forth herein.

30.   The Medicaid program is jointly funded by the state and federal

      government under Title XIX of the Social Security Act.

31.   The Medicaid program provides medical assistance for certain low-

      income children, families, pregnant women, disabled adults, and

      elderly individuals.


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32.   Michigan   must operate   and administer    its Medicaid     program      In

      compliance with federal Medicaid statutes and regulations.

33.   Each state submits a State Plan for how the Medicaid program will be

      administered in accordance with federal law. 42 U.S.C. § 1396a(a).

34.   Under federal law, that State Plan must contain and describe the

      nature and scope of the state's Medicaid program. 42 C.F.R. §

      430.10.

35.   MDHHS has designated itself as the single state Medicaid agency

      responsible for administering the Medicaid program in Michigan

      under 42 U.S.C. § 1396a(a)(5).

36.   MDHHS contracts out the provision of Medicaid services to ten PIHPs

      throughout the state, including Region 10 PIHP.

37.   Medicaid-covered specialty services and supports for Medicaid

      beneficiaries with a serious mental illness, developmental disability,

      serious emotional disturbance, or substance abuse disorder are

      managed and delivered by those PIHPs. M.C.L. § 400. 109f.

38.   MDHHS contracts with Region 10 PIHP to provide and deliver these

      specialty services and supports as the PIHP for Genesee County. 42

      U.S.C. § 1396u-2(a)(1)(8).




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39.   Under M.C.L. 400.109f, Region 10 PIHP is "responsible for providing

      defined inpatient services,   outpatient   hospital services,   physician

      services, other specified Medicaid state plan services, and additional

      services   approved   by the Centers       for Medicare     and Medicaid

      services under section 1915(b)(3) of title XIX of the Social Security

      Act, 42 U.S.C. § 1396n."

40.   Region 10 PIHP contracts out the provision of services to Defendant

      GHS.

41.   MDHHS is required to have methods of keeping itself informed of

      local agency adherence to the State Plan and must take corrective

      action to ensure such adherence. 42 C.F.R. § 435.903.

42.   The Medicaid agency may not delegate to, other than its own

      officials, the authority to supervise the plan or to develop or issue

      policies, rules, or regulations on program matters. 42 C.F.R. §

      431.10.

43.   MDHHS is required to make rules and regulations that it follows in

      administering the plan or that are binding upon local agencies that

      administer the plan. 42 C.F.R. § 431.10.




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       B.    The Nursing Home Reform Act.

 44.   States must cover nursing facility services as part of their Medicaid

       programs. 42 U.S.C. § 1396a(a)(1O)(A)and 1396d(a)(4)(A).

 45.   A nursing facility is an institution that primarily provides: (1) nursing

       care; (2) rehabilitation services for those who are sick, injured or

       disabled; and (3) health-related care and services to individuals who

       because of their mental or physical condition, require care and

       services which can only be provided in an institutional setting. 42

       U.S.C. § 1396r(a)(1)(A-C).

 46.   Nursing facility services are defined as services "which are or were

       required to be given an individual who needs or needed on a daily

       basis nursing care ...    or other rehabilitation services which as a

       practical matter can only be provided in a nursing facility on an

       inpatient basis." 42 U.S.C. § 1396d(f).

 47.   Congress passed the Nursing Home Reform Amendments to the

       Medicaid Act to address the widespread problem of warehousing

       people with psychiatric and developmental disabilities in the nation's

       nursing facilities. 42 U.S.C § 1396r. It enacted the Pre-Admission

       Screening and Annual Resident Review (PASARR) provisions of the



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       NHRA to prevent the unnecessary admission and confinement of

       people with psychiatric       and developmental          disabilities     in nursing

       facilities and to remedy ongoing instances of the same.

 48.   The PASARR          pre-admission     screening       (Level I) is designed        to

       identify   individuals    suspected       of having     mental     illness,   mental

       retardation, or related conditions. See 42 U.S.C. § 1396r(e)(7)(8).

 49.   If the PASARR Level I screen identifies the individual as being

       suspected of having the above conditions, MDHHS must conduct a

       PASARR Level II evaluation. See 42 U.S.C. § 1396r(e)(7); 42 C.F.R.

       § 483.128. The function of the Level II evaluation is to determine

       whether a person is appropriate for admission to a nursing facility

       because he or she needs a level of care that can only be provided in

       a nursing facility and, if so, whether that person needs specialized

       services    while    living   in    the    nursing     facility.   42     U.S.C.    §

       1396r(e)(7)(8)(ii); 42 C.F.R. §§ 483.126,128,132,136.

 50.   Under 42 C.F.R.          § 483.132(a),      states    must assess,         for each

       individual who has mental illness, whether:

       (1)   The individual's total needs are such that his or her needs
             can be met in an appropriate community setting;

       (2)   The individual's total needs are such that they can be met
             only on an inpatient basis, which may include the option
             of placement in a home and community-based services


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               waiver program, but for which the inpatient care would be
               required;

       (3)     If inpatient care is appropriate and desired, the NF is an
               appropriate institutional setting for meeting those needs in
               accordance with § 483.126; or

       (4)     If the inpatient care is appropriate and desired but the NF
               is not the appropriate setting for meeting the individual's
               needs in accordance with § 483.126, another setting such
               as an ICFIIID (including small, community-based
               facilities), an IMD providing services to individuals aged
               65 or older, or a psychiatric hospital is an appropriate
               institutional setting for meeting those needs.


 51.   Following admission to a nursing facility, annual reviews must be

       conducted to determine whether an individual with a related condition

       continues to need a nursing level of care and to require confinement

       in a nursing facility or whether the individual's needs could be met in

       the community. 42 U.S.C. § 1396r(e)(7)(8)(ii); 42 C.F.R. §§

       483.106(a)(3), 114(b), 130, and 132.

 52.   Whenever the PASARR review process determines that the person

       needs services outside of the nursing facility, those services covered

       under     Michigan's   Medicaid program must be provided with

       reasonable promptness. 42 U.S.C. § 1396a(a)(8), (a)(10)(A); 42

       C.F.R. § 435.930.




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       C. The Americans with Disabilities Act (ADA).

 53.   Title II of the ADA provides that "no qualified individual with a

       disability shall, by reason of such disability, be excluded from

       participation in or be denied the benefits of the services, programs, or

       activities of a public entity, or be subjected to discrimination by any

       such entity." 42 U.S.C. § 12132.

 54.   Title Il's implementing regulations require, under 28 C.F.R. §

       35.130(d), that a "public entity shall administer services, programs,

       and activities in the most integrated setting appropriate to the needs

       of qualified individuals with disabilities."

 55.   In passing the ADA, Congress recognized that:

       [I]ndividuals with disabilities continually encounter various forms
       of discrimination, including outright intentional exclusion, the
       discriminatory effects of architectural, transportation, and
       communication barriers, overprotective rules and policies,
       failure to make modifications to existing facilities and practices,
       exclusionary qualification standards and criteria, segregation,
       and relegation to lesser services, programs, activities, benefits,
       jobs, or other opportunities; [and]

       [H]istorically, society has tended to isolate and segregate
       individuals with disabilities, and, despite some improvements,
       such forms of discrimination against individuals with disabilities
       continue to be a serious and pervasive social problem[.]

       42 U.S.C. § 12101(a)(5), (a)(2).




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 56.   The U.S. Supreme Court has held segregation of individuals with

       disabilities "perpetuates   unwarranted assumptions that persons so

       isolated are incapable or unworthy of participating in community life"

       and "severely diminishes the everyday life activities of individuals,

       including family relations, social contacts, work options, economic

       independence.    educational advancement,       and cultural enrichment."

       Olmstead v. L. C. ex reI. Zimring, 527 U.S. 581, 600-601 (1999).

 57.   Unjustified institutionalization "constitutes a form of discrimination

       based on disability prohibited by Title 11." Id. at 596.

       D. Section 504 of the Rehabilitation Act of 1973.

 58.   Like the ADA, Section 504 of the Rehabilitation Act prohibits

       discrimination of individuals with disabilities under any program or

       activity receiving federal financial assistance. 29 U.S.C. § 794(a).

 59.   Its implementing regulations require entities receiving federal financial

       assistance to "administer programs and activities in the most

       integrated setting appropriate... " 28 C.F.R. § 41.51(d).

 60.   The implementing regulations further prohibit Defendants from

       directly, or through other arrangements, utilizing "criteria or methods

       of administration" that effectively subject individuals with disabilities to

       discrimination on the basis of their disability or that "substantially



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       impair accomplishment of the objectives" of the program with respect

       to individuals with disabilities. 28 C.F.R. § 41.51(b)(3).

                            STATEMENT OF FACTS

 61.   Plaintiff is a 46-year old Medicaid beneficiary. She has been

       diagnosed with serious mental illness.

 62.   Plaintiff lived in community settings since 2007 by residing in adult

       foster care homes. Prior to entering the facility, Plaintiff had been

       volunteering up to three times per week for several years at McLaren

       Hospital. She also participated in water aerobics classes at the gym.

 63.   Despite not having been diagnosed with dementia or suffering from

       any memory disorder, Plaintiff now resides on the dementia wing at

       Fenton Health Care in Genesee County, a nursing facility.

 64.   Plaintiff shares a room with three individuals. Each bed is separated

       by hospital curtains, and the room lacks any real privacy.

 65.   Fenton Health Care currently has no programs that enable Plaintiff to

       interact or engage with her community outside of the facility.

 66.   The only time Plaintiff gets out into the community is when her mother

       or family transport her out of the facility.

 67.   Plaintiff entered the nursing facility in or around October 2016.




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 68.   Plaintiff broke her ankle in the shower and ended up in the nursing

       facility for rehabilitation because her adult foster care home could not

       accommodate her needs.

 69.   Upon    information      and   belief,     Plaintiff    completed     physical     and

       occupational therapy at the facility in less than 90 days.

 70.   It was expected that when Plaintiff completed physical therapy she

       would   leave the nursing facility            and go back to living in the

       community.

 71.   To determine        what   services      Plaintiff     would   require,     GHS staff

       completed a Level II OBRA screen on or around January 11, 2017.

 72.   This OBRA screen included GHS' recommendation against continued

       nursing facility care.

 73.   GHS determined Plaintiff "needs continued mental health treatment

       and to return to a community setting. . . . [D]ue to her age and

       capability she needs to relocate to a community setting as soon as

       possible." Level II OBRA assessment.

 74.   GHS determined "she no longer meets the criteria for skilled nursing

       care." Id. at 10.

 75.   Despite those recommendations,              MDHHS approved nursing home

       placement.   MDHHS determined that the Plaintiff "qualifies for the



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       level   of services   provided    by a nursing     facility   and   requires

       specialized mental health/developmental disabilities services." Id.

 76.   According to GHS' medical records, Plaintiff notified GHS staff "she

       feels like she is in jail as she doesn't have the ability to leave." GHS

       Medical Record, December 2, 2016.

 77.   GHS' medical records also indicate Plaintiff thought her continued

       placement was a result of her incontinence: "OBRA has been to see

       her and that they are extending her stay in the Nursing Home until

       she can go to the bathroom without a brief. Client believes now that

       she might be there for up to a year. This she is upset about ... " GHS

       medical records, January 13, 2017.

 78.   GHS' medical records do not reflect that Plaintiff was ever informed

       by GHS she had a right to community living despite her incontinence.

 79.   GHS knew Plaintiff was upset about living in the nursing facility. This

       knowledge is reflected in the medical records noting that Plaintiff's

       "depression is situational and related to being in the nursing facility."

       GHS Medical Record, August 22, 2017.

 80.   As documented in Defendant GHS' medical records, Plaintiff made

       repeated requests for services in the community, noting her urgent

       desire to get out of the nursing facility.



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 81.   As documented      in the nursing facility's    medical records, Plaintiff

       made repeated requests for community based services, noting her

       urgent desire to get out of the nursing facility.

 82.   The nursing facility's medical records reflect its own attempts to get

       help from GHS to find Plaintiff appropriate community based services

       dating all the way back to December 29, 2016.

 83.   GHS showed little motivation to find community placement for Plaintiff

       after MDHHS approved         nursing facility placement         for one year,

       despite GHS' recommendations that she did not belong in the facility

       and knew it could be damaging to her mental health as stated in the

       OBRA Assessment.

 84.   The nursing facility similarly struggled to get services moving for

       Plaintiff as reflected in its medical records. In September             2017,

       records reflect the nursing facility notified GHS' OBRA coordinator of

       Plaintiff's "need and want for alternative placement." The nursing

       facility was directed to contact the GHS case manager. Fenton Health

       Care, September 6, 2017.

 85.   Over a month later, the nursing facility once again reached out to

       GHS' case manager asking for help with community                   placement.

       Fenton Health Care, October 19, 2017.



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 86.   According to the nursing facility's records, GHS asked about sending

       Plaintiff to another nursing facility instead as "she has been approved

       to stay in long term care until January. Writer informed [client's GHS

       case manager] that referrals had been sent with zero responses back

       and that even though she had been approved until January did not

       mean she had to stay in a long-term care setting." Id.

 87.   A new OBRA screen was completed by Defendant GHS on or around

       January 31, 2018.

 88.   The 2018 OBRA screen showed that Plaintiff's functional assessment

       had greatly improved since the OBRA screen          In   January 2017.

       Recall, however, that after the OBRA screen in January 2017,

       Defendant GHS advised against nursing facility placement.

 89.   Despite Plaintiff's improvement in her condition since 2017, GHS

       recommended nursing facility placement, despite Plaintiff's requiring

       it even less. MDHHS supported the GHS recommendation. Level II

       OBRA assessment, 2018.

 90.   MDHHS determined "the individual qualifies for the level of services

       provided by a nursing facility and requires specialized mental

       health/developmental disabilities services." Id.




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 91.   Plaintiff remains in the nursing facility not because she reoutres

       facility level care, but because Defendants have failed to provide long

       term care services in the community. Defendant GHS' OBRA

       assessment is disheartening:

       There is a clear lack of placement options for jennifer outside
       of a skilled nursing facility at this time. Although the team as a
       whole does not want her to remain in a NF because we are
       concerned about lack of community inclusion, regression in
       skills and an even bigger decrease in productivity, there does
       not appear to be another option.

       jennifer admits that decreased motivation is part of her struggle
       with ongoing depression about her living situation. As she
       continues to experience road blocks to community living she
       relapses to a self-defeating cycle of increased calorie
       consumption as a coping mechanism.

       OBRA Assessment 2018, P.19- 20.

 92.   Several Adult Foster Care Homes (AFC) declined Plaintiff due to not

       having barrier free homes or after determining the AFC required more

       money for her cost of care. It was reported in the OBRA screen that,

       "[tlhis is an issue of conflict between the specialized residential

       placement agency and the CMHSP regarding what jennifer presents

       as being entitled to as a Medicaid beneficiary." Id., p 18.

 93.   Plaintiff has been and was approved for specialized residential

       services, which is a Medicaid state plan service.




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 94.   Defendants     have determined          Plaintiff can and should live in the

       community, but has not provided Plaintiff with the services she is

       entitled to receive.

 95.   Defendants         identified   specialized   residential   care   as the   most

       appropriate setting for Plaintiff, considering her needs, and though

       she has requested specialized residential, Defendants have failed to

       provide Plaintiff with those services.



                                   VI. LEGAL CLAIMS

       A.    First Claim for Relief: Violation of Title II of the Americans
             with Disabilities Act (ADA) Integration Mandate.

 96.   Plaintiff incorporates by reference paragraphs 1 through 95 as if fully

       set forth herein.

 97.   Plaintiff is an individual with a disability that substantially limits one or

       more major life activities, including thinking and self-care. 42 U.S.C. §

       12102(1). Specifically, Plaintiff is an individual with serious mental

       illness, has a record of the impairment, and is regarded by all

       Defendants as having serious mental illness.

 98.   Plaintiff is a qualified individual under 42 U.S.C. § 12131(2) to

       participate   In    Medicaid as she has been and continues to receive

       Medicaid.


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 99.   Defendants, acting in their official capacities, are public entities within

       the meaning of Title II of the ADA. 42 U.S.C. § 12131(1)(A), (8).

 100. Plaintiff has requested, would benefit from, and has been approved

       for community based services, but is forced to remain in an overly

       restrictive nursing facility segregated from her community due to

       Defendants' failure to provide community based services adequate to

       meet her needs.

 101. Plaintiff wishes to leave the nursing facility and live in a setting that is

       more integrated in the community where she can have greater

       interaction with her community and live a fulfilling life.

 102. The Defendants have violated and are violating Title II of the ADA by

       failing   to   provide   timely    and    meaningful         alternatives   to

       institutionalization. Defendants have failed to administer, manage,

       fund, and operate its service system to ensure Plaintiff has access to

       home and community-based services required to prevent her from

       continued institutionalization.

 103. Providing Plaintiff with timely access to home and community based

       services would not fundamentally alter the Defendants' service

       system which already requires services be made available to Plaintiff




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       with reasonable promptness, prohibiting waiting lists and delays over

       14 days.

 104. Defendants' failure to provide community based services that Plaintiff

       requires to avoid segregation in an institution constitutes unlawful

       discrimination in violation of Title II of the ADA and its implementing

       regulations.

 105. As    a     direct   and     proximate      result   of    Defendants'      unlawful

       discrimination,     Plaintiff   has   been    institutionalized      and   isolated,

       resulting in her own health decline.

 106. As    a     direct   and     proximate      result   of    Defendants'      unlawful

       discrimination, Plaintiff has sustained injuries and damages.

 107. Plaintiff seeks declaratory relief, injunctive relief, and damages for

       Defendants' violations under Title II of the ADA.



       B.    Second Claim for Relief: Violation of Section 504 of the
             Rehabilitation Act of 1973.

 108. Plaintiff incorporates by reference paragraphs 1 through 107 as if fully

       set forth herein.

 109. Plaintiff is an individual with a disability that substantially limits one or

       more major life activities, including self-care and thinking. 29 U.S.C.

       §705(20)(8); 42 U.S.C. § 12102. Specifically, Plaintiff is an individual

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       with serious mental illness, has a record of the impairment, and is

       regarded by all Defendants as having serious mental illness.

 110. Plaintiff    is qualified    to participate        in Medicaid       with     or without

       reasonable modifications to Defendants' rules, policies, or practices.

       Plaintiff   meets    the    essential     eligibility     requirements      to   receive

       Medicaid and does so. 29 U.S.C. §705(20)(8); 42 U.S.C. § 12102.

 111. Defendants receive federal financial assistance for their programs

       and activities within the meaning of 29 U.S.C. § 794(b).

 112. Plaintiff has requested and has been approved for community based

       services. Although         the community        is the most integrated setting

       appropriate to meet her needs, Plaintiff remains institutionalized in a

       nursing facility. Failing to provide services in the least restrictive

       setting appropriate to Plaintiff's needs and requiring her to remain in

       the institution constitutes discrimination under Section 504.

 113. The Defendants have violated and are violating Section 504 of the

       Rehabilitation Act of 1973 and its implementing regulations by using

       methods       of    administration        which         substantially      impair    the

       accomplishment        of    the   Medicaid         program's       goals      regarding

       individuals with serious mental illness.




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 114. This includes, but is not limited to, not making timely available, and

       not ensuring authorized and medically necessary Medicaid services

       are provided.

 115. Defendants' administration,      management, operation, and funding of

       the   Medicaid      program    has     resulted     In     Plaintiff's   continued

       institutionalization and isolation.

 116. Providing Plaintiff with timely access to home and community based

       services    would   not fundamentally      alter the Defendants'           service

       system, which already requires that services be made available to

       Plaintiff with reasonable     promptness,        prohibiting waiting lists and

       delays over 14 days.

 117. As     a    direct   and   proximate     result     of    Defendants'      unlawful

       discrimination, Plaintiff has sustained injuries and damages.

 118. Plaintiff seeks declaratory relief, injunctive relief, and damages for

       Defendants' violations under Section 504 of the Rehabilitation Act.


       C.    Third Claim for Relief: Violation of 42 U.S.C. § 1983 and the
             Social Security Act Title XIX, 42 U.S.C. § 1396a(a)(8).

 119. Plaintiff incorporates by reference paragraphs 1 through 118, as if

       fully set forth herein.




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 120. The Social Security Act at 42 U.S.C. § 1396a(a)(8), requires medical

       assistance to be furnished with reasonable promptness to all eligible

       individuals.

 121. Plaintiff is entitled to receive state plan behavioral and mental health

       services that are medically necessary.

 122. Plaintiff has not received and continues to not receive medically

       necessary      community     based   services     as   recommended       and

       approved by Defendant GHS in a timely manner, resulting in her

       continued placement in a nursing facility.

 123. The Defendants have failed to provide such medically necessary

       services    with reasonable    promptness,      in violation   of 42 U.S.C.

       §1396a(a)(8) and 42 C.F.R. § 435.930(a).

 124. As a result, the Defendants, acting under the color of state law, have

       denied Plaintiff her rights, privileges, and immunities secured by the

       laws of the United States.

       D.    Fourth Claim for Relief:       Violation of the Nursing Home
             Reform Act Amendments.

 125. Plaintiff incorporates by reference paragraphs 1 through 124, as if

       fully set forth herein.




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 126. The NHRA, 42 U.S.C. 1396r(e)(7), requires Michigan to develop and

       implement a PASARR program for all applicants to and residents of

       Medicaid certified nursing facilities.

 127. Plaintiff is a resident of a licensed Medicaid facility.

 128. MDHHS is responsible for administering the PASARR program.

 129. Defendant, MDHHS, has violated the regulations by failing to provide

       Plaintiff with the choice of receiving services in the community rather

       than in a nursing facility.

                            REQUESTED RELIEF

 Wherefore, Plaintiff respectfully requests this Court to:

       A.    Declare Defendants violated and are violating Plaintiff's rights

             under Section 504 of the Rehabilitation Act and Title II of the

             ADA.

       B.    Declare Defendants violated and are violating Plaintiff's rights

             under    the   Social    Security   Act's   reasonable    promptness

             provisions and PASARR provisions.

       C.    Order Defendants        to provide appropriate      community   based

             services immediately.

       D.    Issue injunctive relief against Defendants for violating Plaintiff's

             rights as complained of herein, and require them to take such



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             actions as are necessary to stop ongoing practices which led to

             this Complaint.

       E.    Enter a judgment against Defendants in an amount consistent

             with damages sustained.

       F.    Grant attorney's fees and costs.

       G.    Grant any other relief to which Plaintiff is entitled or that this

             court deems necessary.

 Dated: February 16, 2018            Respectfully submitted,



                                          /s/ Andrea L. Rizor
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